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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                                )
STERLING SUFFOLK                                )
RACECOURSE, LLC,                                )
                                                )
        v.                                      )
                                                )     Civil No: 18-CV-11963-PBS
WYNN RESORTS, LTD, et al.                       )
                                                )
                 Defendants.                    )
                                                )

                         NOTICE REGARDING MAY 6, 2019 HEARING

        In order to avoid needless repetition at the May 6, 2019 hearing, counsel for Defendants

have conferred with one another regarding the division of time and issues. Counsel for Defendants

will be prepared to address whatever questions the Court may have, in whatever order the Court

prefers. Subject to the Court’s preferences, however, counsel for Defendants propose to focus

their presentations on Plaintiff’s RICO claims, dividing and sequencing the issues as follows:

        •     Counsel for the Wynn entities will address (1) Plaintiff’s failure to adequately allege
              a “pattern” of RICO predicate acts, (2) Plaintiff’s failure to file its claims prior to the
              expiration of the statute of limitations, and (3) Plaintiff’s lack of standing and failure
              to adequately allege proximate causation.
        •     Counsel for FBT Everett Realty LLC will address (1) Plaintiff’s failure to adequately
              allege the supposed association-in-fact enterprise consisting of FBT, the Wynn entities,
              and the Wynn executives, and (2) Plaintiff’s failure to allege any conduct constituting
              “racketeering activity.”
        •     Counsel for Steve Wynn will address (1) the enterprise deficiencies in Plaintiff’s
              Second Claim for Relief, and (2) but-for and proximate causation issues related to
              individual RICO predicate acts.
        •     Counsel for Kimmarie Sinatra will address any RICO issues that pertain specifically
              to Ms. Sinatra.
        •     Counsel for Matthew Maddox will address any RICO issues that pertain specifically
              to Mr. Maddox.
        •     To the extent not already subsumed within and addressed by their principal
              presentations, counsel for FBT and counsel for Steve Wynn will be prepared to address
              any RICO issues specific to FBT and Mr. Wynn, respectively.

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Subject to the Court having any further questions, counsel for Defendants intend to rest on their

respective briefs as to all other claims and issues.


May 3, 2019                                            Respectfully submitted,

                                                       /s/ Aaron M. Katz____________
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                               CERTIFICATE OF SERVICE

       I, Aaron M. Katz, hereby certify that, on May 3, 2019, true and accurate copies of the
foregoing were served on counsel for all parties through ECF.

                                                  /s/ Aaron M. Katz
                                                  Aaron M. Katz




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